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       In the United States Court of Federal Claims
                                          No. 09-270C

                                    (Filed: January 29, 2010)
                                         ____________

 SPECIAL OPERATIONS GROUP, INC.,

                       Plaintiff,

        v.

 THE UNITED STATES,

                       Defendant.
                                         ___________

                                           ORDER
                                         ___________

        A telephonic status conference that was originally scheduled for February 11, 2010, has
been rescheduled for Tuesday, February 16, 2010, at 10:00 a.m. (EST). Chambers will contact
the parties shortly before the scheduled conference time.

       IT IS SO ORDERED.



                                                    s/ Francis M. Allegra
                                                    Francis M. Allegra
                                                    Judge
